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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

BANIAK PINE & GANNON, LLC, an Illinois
limited liability company, VALAUSKAS &
                                                       Civil Action No.
PINE LLC, an Illinois limited liability company,
and McDONNELL BOEHNEN HULBERT &
BERGHOFF LLP, an Illinois limited liability            Judge
partnership,
                              Plaintiffs,
       v.
NEOMEDIA TECHNOLOGIES, INC., a
Delaware corporation, and GEORGE
O’LEARY, an individual,
                              Defendants.


                COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

       NOW COME Plaintiffs, Baniak Pine & Gannon, LLC, Valauskas & Pine LLC, and

McDonnell Boehnen Hulbert & Berghoff LLP, by and through their attorneys, and complain of

Defendants, NeoMedia Technologies, Inc., and George O’Leary, as follows:


                            OVERVIEW, JURISDICTION AND VENUE

       1.    This is an action for, inter alia, bad faith breaches of contracts by NeoMedia

Technologies, Inc. This is also an action for tortious interference with those contracts and

business relationships by George O’Leary.       The Plaintiff law firms seek preliminary and

permanent injunctions for the preservation of earned contingent and licensing fees wrongfully

withheld from them, the imposition of a constructive trust upon those funds, and a full

accounting of all fees to which they are entitled. This Court has diversity jurisdiction over this

matter under 28 U.S.C. § 1332 in that the parties are citizens of different states and the amount

in controversy exceeds $75,000.00, exclusive of interest and costs. Venue lies in this District
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under 28 U.S.C. §1391(a)(2), as a substantial part of the events and omissions giving rise to

Plaintiffs’ claims occurred in the Northern District of Illinois.


                                             PARTIES

         2.   Plaintiff, Baniak Pine & Gannon, LLC (“BPG”), an Illinois limited liability

company, was a law firm specializing in intellectual property rights, including patents,

trademarks, and copyrights. BPG is organized and exists under the laws of the State of Illinois,

having had a principal place of business at 150 North Wacker Drive, Chicago, Illinois 60606.

         3.   Plaintiff, Valauskas & Pine, LLC (“VP”), an Illinois limited liability company,

was a law firm specializing in intellectual property rights, including patents, trademarks, and

copyrights. VP is organized and exists under the laws of the State of Illinois, having had a

principal place of business at 150 South Wacker Drive, Chicago, Illinois 60606.

         4.   Plaintiff, McDonnell Boehnen Hulbert & Berghoff LLP (“MBHB”), an Illinois

limited liability partnership, is a law firm specializing in intellectual property rights, including

patents, trademarks, and copyrights. MBHB is organized and exists under the laws of the State

of Illinois, having a principal place of business at 300 South Wacker Drive, Chicago, Illinois

60606.

         5.   Defendant, NeoMedia Technologies, Inc. (“NeoMedia”), is a Delaware

corporation with its headquarters and principal place of business located at Two Concourse

Parkway, Suite 500, Atlanta, Georgia. NeoMedia promotes itself as “the innovator and global

market leader in 2D mobile barcode technology and infrastructure solutions, harnessing the

power of the mobile phone in a whole new way to transform traditional communications into a

multi-media experience.”




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       6.    Since at least as early as 2000, NeoMedia has been, and upon information and

belief continues to be, the owner of numerous United Sates and foreign patents (the “NeoMedia

Patents”).

       7.    Defendant, George O’Leary (“O’Leary”), at all relevant times a director of

NeoMedia, is upon information and belief a citizen of Florida.


                   PLAINTIFFS’ AGREEMENTS WITH, EARLIER WORK FOR,
                        AND COURSE OF DEALING WITH NEOMEDIA


       8.    In or around 2001, Plaintiff BPG met with Charles Fritz (“Fritz”), then the CEO of

NeoMedia, and discussed a relationship in which BPG would represent NeoMedia for licensing

NeoMedia’s intellectual property, and to the extent necessary, file patent infringement lawsuits

against parties infringing NeoMedia’s intellectual property. In or about January 2002, BPG

and NeoMedia agreed to terms and entered into a written engagement agreement (the “2002

BPG Agreement”), in which BPG was retained as counsel to assist in the licensing and

litigation of the NeoMedia Patents. In the 2002 BPG Agreement, a copy of which is attached

hereto as Exhibit A, the parties agreed, inter alia, that all “proceeds (defined as income or

benefits received from third parties in connection with licensing NeoMedia’s patent rights)

would be made payable to [BPG], and [BPG] would then forward the entire share of

NeoMedia’s proceeds to NeoMedia directly ….”

       9.    At or about the time the parties entered into the 2002 BPG Agreement, NeoMedia

requested an amendment to clarify a provision thereof (the “2002 BPG Amendment”), to which

BPG agreed. In the 2002 BPG Amendment, a copy of which is attached hereto as Exhibit B,

BPG agreed, inter alia, to promptly forward to NeoMedia its share of all licensing proceeds

received by BPG under the 2002 BPG Agreement.



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       10. In or around May 2002, pursuant to the contingent fee arrangement contained in

the parties’ 2002 BPG Agreement, with BPG representing NeoMedia, NeoMedia entered into a

licensing agreement with BrandKey, Inc. (“BrandKey”) under the NeoMedia Patents (the

“BrandKey Agreement”).       BPG has received proceeds from the BrandKey Agreement

consistent with the 2002 BPG Agreement, without dispute or interference by NeoMedia.

       11. In or around January 2004, pursuant to the contingent fee arrangement contained

in the parties’ 2002 BPG Agreement, BPG filed a patent infringement lawsuit on behalf of

NeoMedia against Virgin, Inc., Virgin Megastore, Virgin Online (collectively “Virgin”) in the

Northern District of Illinois (case no. 04 CV 00021), alleging that Virgin was infringing the

NeoMedia Patents (the “Virgin Lawsuit”). Virgin settled with NeoMedia and has since gone

out of business. BPG has received proceeds from the Virgin settlement consistent with the

parties’ 2002 BPG Agreement, without dispute or interference by NeoMedia.

       12. In or around May 2004, pursuant to the contingent fee arrangement contained in

the parties’ 2002 BPG Agreement, BPG filed a patent infringement lawsuit on behalf of

NeoMedia against LScan, Inc. (“LScan”) in the Eastern District of Pennsylvania (case no. 04

CV 2307), alleging that LScan was infringing the NeoMedia Patents (the “LScan Lawsuit”).

BPG obtained a default judgment against LScan and LScan discontinued operations.

       13. In or around April 2004, pursuant to the contingent fee arrangement contained in

the parties’ 2002 BPG Agreement, BPG filed a patent infringement lawsuit on behalf of

NeoMedia against AirClic, Inc. (“AirClic”) in the Eastern District of Pennsylvania (case no. 04

CV 1692), alleging that AirClic was infringing the NeoMedia Patents (the “AirClic Lawsuit”).

BPG obtained a favorable settlement of the AirClic Lawsuit for NeoMedia. BPG has received




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proceeds from the AirClic settlement consistent with the parties’ 2002 BPG Agreement,

without dispute or interference by NeoMedia.

                THE SCANBUY AND MARSHALL LAWSUITS AND SETTLEMENT

       14. In or around April 2004, pursuant to the contingent fee arrangement contained in

the parties’ 2002 BPG Agreement, BPG filed a patent infringement lawsuit on behalf of

NeoMedia against ScanBuy, Inc. (“ScanBuy”), in the Southern District of New York (case no.

04 CV 03026), alleging that ScanBuy was infringing the NeoMedia Patents (the “ScanBuy

Lawsuit”).

       15. In or around February 2007, NeoMedia’s O’Leary and Fritz came to Chicago, met

with Plaintiffs’ principals, and reaffirmed NeoMedia’s intention to continue working with the

BPG attorneys under the terms of the parties’ 2002 BPG Agreement. By that time, Plaintiffs’

principals had ceased practicing law through BPG, and had begun practicing through VP and

MBHB. O’Leary and Fritz agreed that VP and MBHB would continue to represent NeoMedia

in the ScanBuy Lawsuit, and ratified all other particulars of the parties’ 2002 BPG Agreement.

       16. In or around November 2008, ScanBuy along with Marshall Feature Recognition,

Inc. (“Marshall”) filed a patent infringement lawsuit against NeoMedia in the Eastern District

of Texas (case no. 08 CV 199) (the “Marshall Lawsuit”).

       17. NeoMedia acknowledged to and agreed with Plaintiffs that the Marshall Lawsuit

was not covered by the parties’ 2002 BPG Agreement. Thus, NeoMedia entered into a separate

written agreement with Plaintiff VP (the “2009 VP Agreement” – Exhibit C hereto), in which

VP was retained as counsel to represent NeoMedia in the Marshall Lawsuit on a fee basis.

Defendant NeoMedia likewise entered into a separate written agreement with Plaintiff MBHB

(the “2009 MBHB Agreement” – Exhibit D hereto), in which MBHB was also retained as



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counsel to represent NeoMedia in the Marshall Lawsuit on a fee basis. Similar to their co-

counsel relationship in the ScanBuy Lawsuit, Plaintiffs MBHB and VP thus served as litigation

co-counsel for NeoMedia in the Marshall Lawsuit.

       18. On or about October 16, 2009, by and through VP and MBHB as counsel,

NeoMedia and ScanBuy entered into a written settlement agreement (the “ScanBuy

Settlement”), thereby resolving and terminating both the ScanBuy Lawsuit and the Marshall

Lawsuit on terms favorable to NeoMedia, including but not limited to the payment of license

fees and royalties (“proceeds” under the parties’ 2002 BPG Agreement; hereinafter,

“Proceeds”) to NeoMedia. Pursuant to the parties’ 2002 BPG Agreement, Plaintiffs are entitled

to 45% of all Proceeds obtained pursuant to the ScanBuy Settlement. (In order to protect

confidential information, at this time Plaintiffs are not attaching the ScanBuy Settlement as an

exhibit hereto.)

                         NEOMEDIA’S WRONGFUL APPROPRIATION
                               OF PLAINTIFFS’ SHARE OF
                          THE SCANBUY SETTLEMENT PROCEEDS

       19. NeoMedia has admitted and acknowledged to Plaintiffs that it has received

Proceeds from the ScanBuy Settlement, and has admitted that Plaintiffs are entitled to the

stated share under the parties’ 2002 BPG Agreement (Exhibit A hereto), but has withheld same

without any legitimate justification. Moreover, notwithstanding the provision in the parties’

2002 BPG Agreement that all “proceeds (defined as income or benefits received from third

parties in connection with licensing NeoMedia’s patent rights) would be made payable to

[BPG], and [BPG] would then forward the entire share of NeoMedia’s proceeds to NeoMedia

directly,” NeoMedia – without Plaintiffs’ prior knowledge or approval -- obtained ScanBuy’s

agreement in the ScanBuy Settlement to pay Proceeds directly to NeoMedia, thus enabling



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NeoMedia to exploit its position of superiority over Plaintiffs, and wrongfully and without

justification divert, withhold and appropriate to itself Plaintiffs’ Proceeds shares.

                                 THE MARSHALL LAWSUIT FEES

        20. Besides the contingent fee Proceeds due and owing Plaintiffs from the ScanBuy

Settlement, NeoMedia continues to owe VP and MBHB sums billed by them pursuant to the

2009 VP and MBHB Agreements relating to the Marshall Lawsuit. While admitting and

acknowledging to Plaintiffs that these fee-based sums are due and owing to them, and despite

having paid Plaintiffs’ hourly fee bills earlier in the Marshall Lawsuit, NeoMedia has likewise

refused to pay Plaintiffs’ later bills, without any legitimate justification.

        21. NeoMedia paid VP for fee-based services rendered in the Marshall Lawsuit up to

approximately September 2009. To date, NeoMedia still owes VP at least $51,169.57 for

services rendered, plus ongoing interest and reasonable attorneys’ fees, in accordance with the

2009 VP Agreement.         NeoMedia has failed to provide any legitimate justification for

withholding these sums due to VP.

        22. NeoMedia paid MBHB for fee-based services rendered in the Marshall Lawsuit up

to approximately September 2009. To date, NeoMedia still owes MBHB at least $34,287.63

for services rendered, plus interest and reasonable attorneys’ fees, in accordance with the 2009

MBHB Agreement.           NeoMedia has failed to provide any legitimate justification for

withholding these sums due to MBHB.

              NEOMEDIA’S WRONGFUL APPROPRIATION OF PLAINTIFFS’ SHARE OF
                   THE MOBILE TAG, BEMS AND NEUSTAR AGREEMENTS

        23.     In or around July 2009, with VP and MBHB representing NeoMedia, and

involved in, inter alia, drafting and negotiating, NeoMedia entered into a licensing agreement

with Mobile Tag, Inc., under the NeoMedia Patents (the “Mobile Tag Agreement”). (In order


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to protect confidential information, at this time Plaintiffs are not attaching the Mobile Tag

Agreement as an exhibit hereto.)

       24. In or around October 2009, with VP and MBHB representing NeoMedia, and

involved in, inter alia, drafting and negotiating, NeoMedia entered into a licensing agreement

with BEMS, Inc., under the NeoMedia Patents (the “BEMS Agreement”). (In order to protect

confidential information, at this time Plaintiffs are not attaching the BEMS Agreement as an

exhibit hereto.)

       25. In or around October 2009, with VP and MBHB representing NeoMedia, and

involved in, inter alia, drafting and negotiating, NeoMedia entered into a licensing agreement

with Neustar, Inc., under the NeoMedia Patents (the “Neustar Agreement”). (In order to

protect confidential information, at this time Plaintiffs are not attaching the Neustar Agreement

as an exhibit hereto.)

       26. Pursuant to the parties’ 2002 BPG Agreement (Exhibit A hereto), Plaintiffs are

entitled to at least 25% of the proceeds of the Mobile Tag, BEMS and Neustar Agreements

(hereinafter, also “Proceeds”). NeoMedia has failed to provide any legitimate reason for

withholding these sums due to Plaintiffs.

       27. Defendants’ withholding of Plaintiffs’ rightful Mobile Tag, BEMS and Neustar

Proceeds shares and fees has been unreasonable and vexatious, and entitles Plaintiffs to an

award of prejudgment interest thereon.


                                     COUNT I
        INJUNCTION, SPECIFIC PERFORMANCE, ACCOUNTING, CONSTRUCTIVE TRUST

       28. Plaintiffs repeat and reallege paragraphs 1 – 27 above as if fully set forth herein.




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       29. On or around November 2, 2009, when Plaintiffs asked why NeoMedia was not

making the Proceeds and fee payments due and owing to Plaintiffs, and demanded payment of

same, Mike Zima (“Zima”), NeoMedia’s CFO, stated that O’Leary had instructed NeoMedia to

“hold the money hostage” until Plaintiffs agreed to amend the 2002 BPG Agreement in

accordance with NeoMedia’s demands. Mr. Zima provided no other reason for withholding

payment to Plaintiffs and stated that the payments were owed and due to be paid.

       30. On information and belief, O’Leary acted for his own interest and benefit in

issuing the instruction to Zima to “hold the money hostage,” and directing Zima and NeoMedia

not to remit to Plaintiffs their earned fees and rightful shares of the Proceeds under the

ScanBuy Settlement, and the Mobile Tag, BEMS and Neustar Agreements (collectively, the

“License Agreements”).

       31. At great risk, time and expense, Plaintiffs obtained significant revenue streams for

NeoMedia and themselves under the terms of the License Agreements, all pursuant to, inter

alia, the express safeguard contained in the parties’ 2002 BPG Agreement that the Proceeds

therefrom would be paid directly to the Plaintiff attorneys, who would deduct their shares and

then promptly distribute the remainder to NeoMedia.

       32. Law, equity and good conscience dictate that NeoMedia should be prevented from

continuing to bypass and violate the parties’ express safeguard, and unjustifiably retain

Plaintiffs’ rightful Proceeds shares. Therefore, the Court should restore the parties to their

original agreed arrangement for the receipt and distribution of Proceeds, and order that

NeoMedia direct all parties to all License Agreements procured by or with Plaintiffs’ assistance

pursuant to the 2002 BPG Agreement to pay Proceeds therefrom directly to Plaintiffs for the

duration of those License Agreements.



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       33. Though NeoMedia has refused Plaintiffs’ numerous demands to account for all

Proceeds received and pay over Plaintiffs’ rightful shares, Plaintiffs estimate that the amount of

uncompensated services they have thus far rendered to NeoMedia pursuant to the parties’ 2002

BPG Agreement, and subsequent agreements, is currently in excess of 1.75 million dollars

($1,750,000), and that NeoMedia will additionally continue to receive benefits and Proceeds far

in excess of this amount in         the form of future payments and royalties which the

aforementioned ScanBuy and other Agreements will provide.

       34. Absent restoration of the parties’ last agreed status quo as embodied in their 2002

BPG Agreement, Plaintiffs stand at great and ongoing risk that the Proceeds of their significant

service investment will be unjustifiably dissipated by NeoMedia, and that they will be unable to

fully recover same.

       WHEREFORE, Plaintiffs pray:

       A. That the Court preliminarily and permanently enjoin Defendants to comply with the

           payment provision of their 2002 BPG Agreement, and direct all parties to all

           License Agreements procured by or with Plaintiffs’ assistance pursuant to the

           parties’ 2002 BPG Agreement to pay Proceeds therefrom directly to Plaintiffs for

           the duration of those License Agreements;

       B. That the Court compel Defendants to fully account to Plaintiffs for all Proceeds thus

           far received by them pursuant to all License Agreements procured by or with

           Plaintiffs’ assistance pursuant to the parties’ 2002 BPG Agreement;

       C. That the Court impose a constructive trust upon Plaintiffs’ rightful shares of all

           Proceeds wrongfully retained by Defendants, and all interest, proceeds and other

           return which was or could have reasonably been earned thereon, and direct



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           Defendants to pay same into the registry of the Court pending the entry of final

           judgment in this case; and

       D. That Plaintiffs be awarded all compensation, costs, prejudgment interest, reasonable

           attorneys’ fees and other relief to which they may be entitled.


                                   COUNT II
           TORTIOUS INTERFERENCE WITH CONTRACT – 2002 BPG AGREEMENT

       35. Plaintiffs repeat and reallege paragraphs 1 – 34 above as if fully set forth herein.

       36. O’Leary acted willfully and without right, justification or privilege in directing

NeoMedia to “hold [Plaintiffs’] money hostage.” He thereby intended to and did unjustifiably

induce a breach of the parties’ 2002 BPG Agreement.

       37. In the alternative, O’Leary acted maliciously and without right, justification or

privilege in directing NeoMedia to “hold [Plaintiffs’] money hostage.” He thereby intended to

and did harm Plaintiffs by unjustifiably inducing a breach of the parties’ 2002 BPG Agreement.

       38. Plaintiffs are entitled to an appropriate award of punitive damages.

       WHEREFORE, Plaintiffs pray that judgment be entered in their favor, and against

Defendant O’Leary, in an amount to be determined in excess of $1,750,000 and commensurate

with the stated shares set forth in the aforementioned ScanBuy and other Agreements, and that

Plaintiffs be awarded appropriate punitive damages plus their costs, prejudgment interest,

reasonable attorneys’ fees, and all other relief to which they may be entitled.


                                      COUNT III
                       BREACH OF CONTRACT – 2002 BPG AGREEMENT

       39. Plaintiffs repeat and re-allege paragraphs 1 - 38 above as if fully set forth herein.




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       40. Plaintiffs have performed legal services for and incurred expenses on behalf of

Defendant NeoMedia at NeoMedia’s specific request and direction on a contingency basis

pursuant to the 2002 BPG Agreement.

       41. Based upon their review of the License Agreements, Plaintiffs estimate and

believe that their rightful share of the Proceeds NeoMedia has thus far received exceeds

$1,750,000.

       42. Despite repeated demands, Defendant NeoMedia has failed and refused to account

for and pay Plaintiffs all Proceeds owed under the 2002 BPG Agreement.

       WHEREFORE, Plaintiffs pray that the Court compel Defendants to fully account to

Plaintiffs for all Proceeds thus far received by them pursuant to all License Agreements

procured by or with Plaintiffs’ assistance pursuant to the parties’ 2002 BPG Agreement, and

that judgment be entered in Plaintiffs’ favor, and against Defendant NeoMedia, in an amount to

be determined by the proofs commensurate with the stated shares set forth in the

aforementioned ScanBuy and other Agreements, but not less than $1,750,000, plus interest,

costs, and all other relief to which it may be entitled.


                                        COUNT IV
                             BREACH OF THE 2009 VP AGREEMENT

       43. Plaintiffs repeat and re-allege paragraphs 1 - 42 above as if fully set forth herein.

       44. VP, through its employees, performed valuable legal services for and incurred

expenses on behalf of Defendant NeoMedia at NeoMedia’s specific request and direction on

the Marshall Lawsuit.

       45. Pursuant to the VP Agreement, Defendant NeoMedia agreed to pay VP for the

legal services performed for the Marshall Lawsuit on an hourly basis and pursuant to the hourly



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billable rate chargeable for the individual employees of VP.           NeoMedia also agreed to

reimburse VP for its expenses and disbursements incurred and made/or liability incurred

therefor, on NeoMedia’s behalf.

       46. NeoMedia currently owes VP for unpaid services and expenses of at least

$51,169.57.    A true and correct copy of VP’s current statement of past-due account of

Defendant NeoMedia is attached hereto, incorporated by reference, and marked Exhibit E.

       47. Pursuant to the parties’ 2009 VP Agreement, VP is entitled to interest and an

award of its reasonable attorneys’ fees.

       WHEREFORE, Plaintiff VP prays that judgment be entered in its favor, and against

Defendant NeoMedia, in at least the amount of $51,169.57, plus ongoing interest, costs,

reasonable attorneys’ fees, and all other relief to which it may be entitled.


                                         COUNT V
                           BREACH OF THE 2009 MBHB AGREEMENT

       48. Plaintiffs repeat and re-allege paragraphs 1 – 47 above as if fully set forth herein.

       49. MBHB, through its employees, performed valuable legal services for and incurred

expenses on behalf of Defendant NeoMedia at NeoMedia’s specific request and direction on

the Marshall Lawsuit.

       50. Pursuant to the MBHB Agreement, Defendant NeoMedia agreed to pay MBHB for

the legal services performed for the Marshall Lawsuit on an hourly basis and pursuant to the

hourly billable rate chargeable for the individual employees of MBHB. NeoMedia also agreed

to reimburse MBHB for its expenses and disbursements incurred and made and/or liability

incurred therefore, on NeoMedia’s behalf.




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       51. NeoMedia currently owes MBHB for unpaid services and expenses of $34,287.63.

A true and correct copy of MBHB’s past-due statement of account of Defendant NeoMedia is

attached hereto, incorporated by reference, and marked Exhibit F.

       52. Pursuant to the parties’ 2009 MBHB Agreement, MBHB is entitled to interest and

an award of its reasonable attorneys’ fees.

       WHEREFORE, Plaintiff MBHB prays that judgment be entered in its favor, and against

Defendant NeoMedia, in at least the amount of $34,287.63, plus interest, costs, reasonable

attorneys’ fees, and all other relief to which it may be entitled.



                                                      Respectfully submitted,

Dated: February 18, 2011.


                                                      /s/ William B. Kohn
                                                      Attorneys for Plaintiffs
                                                      Baniak Pine & Gannon, LLC
                                                      Valauskas & Pine, LLC, and
                                                      McDonnell Boehnen Hulbert & Berghoff LLP



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